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     DAN L. WULZ, ESQ.
 1
     Nevada Bar No.: 5557
 2   SOPHIA A. MEDINA, ESQ.
     Nevada Bar No.: 12446
 3   LEGAL AID CENTER OF
     SOUTHERN NEVADA, INC.
 4
     725 E. Charleston Blvd.
 5   Las Vegas, NV 89104
     Telephone: (702) 386-1070 x 1453
 6   Facsimile: (702) 386-1453
     smedina@lacsn.org
 7
 8   MITCHELL D. GLINER
     Nevada Bar No.: 003419
 9   LAW OFFICES OF
     MITCHELL D. GLINER
10
     3017 W. Charleston Blvd., #95
11   Las Vegas, Nevada 89102
     Telephone: (702) 870-8700
12   Facsimile: (702) 870-0034
     mgliner@glinerlaw.com
13
14   DANIEL A. EDELMAN
     Illinois Bar No.: 0712094
15   EDELMAN, COMBS,
     LATTURNER & GOODWIN, LLC
16
     20 S. Clark Street, Suite 1500
17   Chicago, IL 60603
     (312) 739-4200
18   (312) 419-0379 (Fax)
     dedelman@edcombs.com
19
     www.edcombs.com
20
     Attorneys for Class
21
     ///
22
     ///
23
     ///
24
     ///
25
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     ///
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28   ///

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 1
 2                           IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEVADA
 3
 4   CARLOS EFRAIN LEONEL GARCIA, an
 5   individual, on behalf of himself and all those
     similarly situated,                              Civil Action No.
 6
                         Plaintiff,
 7
 8   vs.

 9   AUTOVEST, LLC, a foreign limited
     liability company;
10
11                     Defendant.

12
13                                    CLASS ACTION COMPLAINT
14
                                          I.     INTRODUCTION
15
            1.      This matter is brought as a class action for statutory damages filed by Plaintiff,
16
17   CARLOS EFRAIN LEONEL GARCIA, an individual consumer, against Defendant AUTOVEST,

18   LLC for violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter
19   “FDCPA”), which prohibits debt collectors from engaging in abusive, deceptive, and unfair
20
     practices and state law abuse of process for suing on time barred debts. Plaintiff is also seeking
21
     declaratory and injunctive relief.
22
23                                         II.   JURISDICTION

24          2.      This is a claim for statutory damages brought by Plaintiff, CARLOS EFRAIN
25
     LEONEL GARCIA, on behalf of himself and all similarly situated persons, for Defendant’s
26
     violations of the Fair Debt Collection Practices Act, 15 U.S.C. §1692, et seq., which expressly
27
     prohibits a debt collector from engaging in abusive, deceptive, unconscionable and unfair debt
28

                                                      2
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     collection practices. Thus, jurisdiction of this Court is invoked pursuant to 15 U.S.C. §1640(e), 15
 1
 2   U.S.C. §1692k(d), 28 U.S.C. § 1331, 28 U.S.C. §1337, and 28 U.S.C. § 2201 and 2202. This

 3   Court has supplemental jurisdiction over Plaintiff’s state law claim pursuant to 28 U.S.C. § 1367.
 4
     Venue in this District is proper pursuant to 28 U.S.C. §1391b in that the Defendant transacts
 5
     business here and the conduct complained of occurred in this District.
 6
 7                                            III.    PARTIES

 8          3.      Plaintiff, CARLOS EFRAIN LEONEL GARCIA, (hereinafter referred to as
 9   “Plaintiff”) is a natural person who at all times relevant to this Complaint resided in the State of
10
     Nevada, County of Clark, City of Las Vegas, and is a “consumer” as defined in the Act at 15
11
     U.S.C. § 1692a(3)1 who may or may not have been obligated to pay a debt which was incurred
12
13   primarily for household, family and personal purposes.

14          4.      Defendant, Autovest, LLC., (hereinafter "Autovest" or "Defendant") is an
15   unregistered, unlicensed, foreign corporation incorporated under the laws of the state of Michigan
16
     which is a distressed debt buyer, specializing in the purchase of delinquent and defaulted consumer
17
     obligations or accounts obtained from an original creditor bought at a large discount, and which
18
19   attempts to collect the entire balance due from the consumer and, therefore, is a "debt collector",

20   as defined in the Act at 15 U.S.C. §1692a(6)2.
21
            5.      Defendant regularly collects or attempts to collect debts owed or due or asserted to
22
     be owed or due another as defined in the Act at 15 U.S.C. §1692a.(6).
23
24
25   1
       The term “consumer” means any natural person obligated or allegedly obligated to pay any
     debt.
26   2
       The term “debt collector” means any person who uses any instrumentality of interstate
27   commerce or the mails in any business the principal purpose of which is the collection of any
     debts, or who regularly collects or attempts to collect, directly or indirectly, debts owed or due or
28   asserted to be owed or due another.
                                                       3
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             6.       Defendant regularly engages in and transacts business in the state of Nevada
 1
 2   through the use of the United States mails, telephone, trial courts of the state or other

 3   instrumentalities of interstate commerce and is subject to the jurisdiction of this Court.
 4
                                IV.      GENERAL FACTUAL ALLEGATIONS
 5
     A.      Plaintiff Carlos Efrain Leonel Garcia.
 6
 7           7.       On or around July 21, 2006, Mr. Garcia went to Bill Heard Chevrolet to purchase

 8   a vehicle.
 9           8.       Mr. Garcia executed a Retail Installment Sales Contract (“RISC”) with Bill Heard
10
     Chevrolet for the purchase of a new 2006 Chevrolet Impala, VIN# 2G1WB58K569424451
11
     (hereinafter “the subject vehicle”) on credit for personal use. See RISC dated August 1, 2006
12
13   attached hereto as EXHIBIT 1.

14           9.       Mr. Garcia paid a down payment of $6,000 and financed the remaining $21,257.84,
15   for the total purchase price of $40,246.08. Mr. Garcia was to make payments of $475.64, monthly
16
     beginning September 4, 2006. See Ex. No. 1.
17
             10.      On August 21, 2006, the RISC was assigned to Wells Fargo Auto Finance, Inc..
18
19   See August 21, 2006 Wells Fargo Auto Finance letter attached hereto as EXHIBIT 2.

20           11.      In 2009, Mr. Garcia lost his job and was unable to continue making his payments.
21
             12.      On August 31, 2009, Wells Fargo Bank3 sent Mr. Garcia a letter letting him know
22
     he was in default, and needed to pay the full amount due or “Wells Fargo may accelerate your
23
     credit obligation and exercise its rights and remedies against you as permitted under applicable
24
25
26
27
     3
      It is unclear if the RISC was assigned to Wells Fargo Bank, N.A. by Wells Fargo Auto Finance, Inc. prior to the
28   default.

                                                              4
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     law. These rights include the right to repossess any property held as collateral for this obligation[.]”
 1
 2   See August 31, 2009 Wells Fargo letter attached hereto as EXHIBIT 3.

 3          13.     Sometime in September or October 2009, Wells Fargo did exercise its right to
 4
     repossess the property and accelerate the RISC when it repossessed the subject vehicle.
 5
            14.     Mr. Garcia then received two letters notifying him that his car would be sold, one
 6
 7   dated October 28, 2009, and the other dated November 12, 2009. See Notice of Intended

 8   Disposition letters dated October 28, 2009 and November 12, 2009, attached hereto as EXHIBIT
 9   4.
10
            15.     In December 2009, Mr. Garcia received another letter dated December 3, 2009
11
     letting him know that his car had been sold at a private sale on December 1, 2009. See December
12
13   3, 2009 Deficiency letter attached hereto as EXHIBIT 5.

14          16.     This sale invariably resulted in a deficiency between the amount obtained from that
15   sale and the amount owed under the RISC.
16
            17.     Instead of bringing suit on these deficiencies, Wells Fargo sold these debts to
17
     Defendant Autovest among hundreds if not thousands of others on the open-market at a huge
18
19   discount.

20          18.     On March 21, 2015, 5 years and 110 days after the car was sold, and 5 years and
21
     six months after the contract was breached, the Defendant commenced a law suit in Las Vegas
22
     Justice Court to sue Mr. Garcia for the deficiency of $9,522.02 and contractual interest of
23
     $7,439.19 making the request for relief a total $16,961.21. See Summons and Complaint dated
24
25   March 23, 2015 attached hereto as EXHIBIT 6.

26          19.     This vehicle was sold under a Nevada Retail Installment Sales Contract, the form
27
     of which is required under NAC 97.050, NRS 97.299, and NRS 97.301 which specifically states
28

                                                        5
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     that the RISC is subject to the Uniform Commercial Code (“UCC”). For example on the front
 1
 2   page in Section D it states “To secure such payment, you grant to us a purchase money security

 3   interest under the Uniform Commercial Code in the Collateral. . .,” and on the back page which
 4
     lists the terms and conditions it states “[o]n any default, we will have all the remedies of a secured
 5
     party under the Uniform Commercial Code”. See blank RISC attached hereto as EXHIBIT 7.
 6
 7          20.     Automobiles are goods as defined by UCC Article 2 codified in NRS § 104.2105.

 8   21.    UCC § 2-725 codified as NRS § 104.2725 provides that “[a]n action for breach of any
 9   contract for sale must be commenced within 4 years after the cause of action has accrued”, and
10
     thus the statute of limitation for a deficiency claim under the UCC is 4 years.
11
                                V.       CLASS ACTION ALLEGATIONS
12
13          22.     Mr. Garcia brings this action individually and on behalf of all others similarly

14   situated pursuant to FRCP 23(a) and FRCP 23(b)(2), or (b)(3), and that Class consists of: all
15   persons sued in Nevada within the one year preceding the date of filing of this Complaint by
16
     Defendant for an alleged deficiency arising after default on an automobile retail installment sales
17
     contract more than four years after default who have not had a final judgment entered against them.
18
19          23.     Numerosity. Membership in the Class is so numerous as to make joinder of all Class

20   members impracticable. During the time period applicable to the Class, upon information and
21
     belief, there were several dozen (more than 45) lawsuits filed by Autovest which were time barred.
22
     The disposition of the Class’ claims in a class action will obviate the need for repeated individual
23
     adjudications of the same issues.
24
25          24.     Commonality. There are questions of law or fact common to all members of the

26   Class that control this litigation and which predominate over any individual issues. The common
27
     questions of law or fact include, but are not limited to, the following: (a) whether the statute of
28

                                                       6
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     limitations for a claim for an alleged deficiency arising after default on a automobile retail
 1
 2   installment sales contract is four years pursuant to NRS 104.2725; and (b) whether filing suit on a

 3   time-barred debt violates 15 U.S.C. § 1692a et seq., including but not limited to §1692e.
 4
            25.     Typicality. The claims of the Plaintiff are typical of the claims of the Class in that
 5
     each seeks the same remedies and relief upon the same legal theories and operable facts, and the
 6
 7   Plaintiff has no interest adverse to the interests of the other members of the Class.

 8          26.     Adequacy of Representation. The Plaintiff and experienced Class Counsel will
 9   fairly and adequately protect the interests of the Class.
10
            27.     Superiority. A class action is superior to other methods for the fair and efficient
11
     adjudication of this controversy because, inter alia: (a) Autovest has acted or refused to act on
12
13   grounds generally applicable to the Class, thereby making appropriate final injunctive relief or

14   corresponding declaratory relief with respect to the Class as a whole, and making the case suitable
15   for certification under FRCP 23(b)(2); (b) the complexity of the issues involved, the size of the
16
     individual Class member's claims, and the limited resources of the Class members would clearly
17
     make it impracticable for all individual members of the Class to individually seek legal redress for
18
19   the actions of Autovest, making a class action superior to other available methods for the fair and

20   efficient adjudication of the controversy, and questions of law or fact common to the members of
21
     the Class predominate over any questions affecting only individual members, making the case
22
     suitable for certification under NRCP 23(b)(3); (c) this action would facilitate an orderly and
23
     expeditious resolution of the Class' claims, and will foster economies of time, effort, and expense;
24
25   (d) when the Court has adjudicated whether Autovest is liable, then the claims of all Class members

26   may be determined by the Court; and (e) this action presents no difficulty that would impede its
27
28

                                                       7
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     maintenance by the Court as a class action and is the best available means by which the Plaintiff
 1
 2   and all Class members may seek redress for the harm caused by Autovest.

 3                                   VI.   CLASS ACTION LEGAL THEORIES
 4
             28.     Plaintiff repeats and realleges the allegations contained in paragraphs 1 through 27
 5
     as if fully set forth herein.
 6
 7   A.      Fair Debt Collection Practices Act

 8           29.     The primary purpose of the FDCPA is to “eliminate abusive debt collection
 9   practices by debt collectors . . . and to promote consistent State action to protect consumers against
10
     debt collection abuses. 15 U.S.C.A. § 1692.
11
             30.      Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6), which defines
12
13   a debt collector as, “any person who uses any instrumentality of interstate commerce or the mails

14   in any business the principal purpose of which is the collection of any debts, or who regularly
15   collects or attempts to collect, directly or indirectly, debts owed or due or asserted to be owed or
16
     due another.”
17
             31.     Defendant, without limiting the scope of any additional violations which may have
18
19   been committed, violated the Fair Debt Collection Practices Act by engaging in the following

20   unfair, deceptive, unconscionable and abusive debt collection practices expressly prohibited by the
21
     FDCPA:
22
                     (a)      by taking action that it could not legally take in connection with the
23                            collection of a debt in violation of 15 U.S.C, §1692e(5);
24
                     (b)      by falsely representing the character, amount or legal status of a debt or the
25                            compensation which may be recovered in connection with the collection of
                              a debt in violation of 15 U.S.C. §1692e(2); and
26
27                   (c)      by using a false, deceptive or misleading representation or means to collect
                              a debt in violation of 15 U,S,C. §1692e and (e)(10).
28

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            32.     By virtue of the applicable statute of limitations, Defendant Autovest was not
 1
 2   entitled to a deficiency and, therefore, not entitled to sue the Mr. Garcia and Class members.

 3          33.     This is a class action under the provisions of Rule 23(a) and 23(b)(3), for statutory
 4
     damages and other relief consistent and subordinate thereto, including costs and expenses of
 5
     investigation and litigation and attorney fees.
 6
 7   B.     Declaratory Relief under 28 U.S.C. § 2201

 8          34.     Declaratory relief is a historical equitable remedy. In addition, the legislature has
 9   enacted 28 U.S.C. § 2201 et seq. Further, FRCP 23(b)(2) authorizes declaratory relief where the
10
     party opposing the Class has acted or refused to act on grounds generally applicable to the Class.
11
            35.     “In a case of actual controversy within its jurisdiction . . . any court of the United
12
13   States, upon the filing of an appropriate pleading, may declare the rights and other legal relations

14   of any interested party seeking such declaration, whether or not further relief is or could be
15   sought. Any such declaration shall have the force and effect of a final judgment or decree and
16
     shall be reviewable as such.” 28 U.S.C. § 2201(a).
17
            36.     The facts of this case state a justiciable controversy in which a claim of right is
18
19   asserted against one who has an interest in contesting it.

20          37.     This court has the power by law to declare the rights, status and other legal relations
21
     of the parties whether or not further relief is or could be claimed, and a declaration may be either
22
     affirmative or negative in form and effect, and such declarations have the force and effect of a final
23
     judgment or decree.
24
25          38.     The class seeks all equitable declaratory relief and/or statutory declaratory relief

26   and/or FRCP 23(b)(2) declaratory relief that arises from or is implied by the facts, whether or not
27
     specifically requested, including but not limited to: (a) a declaration of the rights of the Class with
28

                                                       9
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     respect to pending litigation where a final judgment has not been entered; (b) a declaration that the
 1
 2   Class is entitled to injunctive relief; and (c) a declaration that the Class is entitled to attorney’s fees

 3   and costs.
 4
     C.      Abuse of Process
 5
             39.     Defendant had an ulterior purpose in this matter other than resolving a legal dispute
 6
 7   as any possible cause of action regarding the deficiency balance was stale and there was no longer

 8   any valid legal dispute.
 9           40.     “An ulterior purpose is any improper motive underlying the issuance of legal
10
     process. . . It is not necessary to show malice or want of probable cause to recover for abuse of
11
     process.” In re Black, 487 B.R. 202, 212 (Bankr. App. 9th Cir. 2013) (citing Posadas v. City of
12
13   Reno, 109 Nev. 448, 851 P.2d 438, 445 (1993)).

14           41.     Defendant’s willful act in use of process was not proper in the regular conduct of
15   the proceeding as evidenced, inter alia, by the facts that: 1) Defendant is aware that Retail
16
     Installment Contracts are governed by Nevada’s UCC which carries a four year statute of
17
     limitations yet still filed lawsuits on accounts over four years old; and 2) Defendant, knowing full
18
19   well that these lawsuits are outside the applicable statute of limitations, has yet to dismiss these

20   actions and cease collection actions.
21
             42.     Therefore, Defendants abused the legal process to the detriment of the Class,
22
     entitling the Class to equitable relief including but not limited to the declaratory and injunctive
23
     relief set forth below.
24
25           43.     This is a class action under the provisions of Rule 23(a) and 23(b)(2), for injunctive

26   relief requiring Defendant to cease the prosecution of the cases it has filed outside of the applicable
27
     statute of limitations and to stop the filing of future time barred lawsuits.
28

                                                         10
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     D.       Injunctive Relief for state law Abuse of Process claim.
 1
 2            44.      Injunctive relief is a historical equitable remedy. In addition, the State of Nevada

 3   has enacted NRS 33.0104 et seq. In addition, FRCP 23(b)(2) authorizes injunctive relief where
 4
     the party opposing the Class has acted or refused to act on grounds generally applicable to the
 5
     Class.
 6
 7            45.      The Class does not have an adequate remedy at law.

 8            46.      It appears from the facts alleged above herein that the Class is entitled to the relief
 9   demanded, and such relief or any part thereof consists in restraining the commission or continuance
10
     of the act(s) complained of, either for a limited period or perpetually, and accordingly the Class
11
     seeks all equitable injunctive relief that arises from or is implied by the facts, whether or not
12
13   specifically requested, including an injunction (a) that Autovest immediately cease prosecution of

14   and forthwith dismiss all cases filed against the Class where no final judgment has been entered;
15   and (b) that Autovest cease from suing on debts arising from auto deficiencies that are outside the
16
     four year statute of limitations set forth in NRS 104.2725.
17
                                          VII.        JURY TRIAL DEMAND
18
19            47.      Mr. Garcia demands a trial by jury as to all issues triable to a jury.

20
21
     4
       “[A] federal court exercising supplemental jurisdiction over state law claims is bound to apply the law of the forum
22   state to the same extent as if it were exercising its diversity jurisdiction.” Bass v. First P. Networks, Inc., 219 F.3d
     1052, 1055 n. 2 (9th Cir. 2000). Generally, “In an ordinary diversity case where the state law does not run counter
23   to a valid federal statute or rule of court, and usually it will not, state law . . . should be followed. See Alyeska
     Pipeline Serv. Co. v. Wilderness Socy., 421 U.S. 240, 260 n. 31 (1975). Furthermore, the ninth circuit has held in
24   case where a California statute precluded injunctive relief, that the state statute is substantive and controls. Sims
     Snowboards, Inc. v. Kelly, 863 F.2d 643, 646-47 (9th Cir. 1988). In Sims, the court citing Erie held that since the
25   California anti-injunction statute expressly prohibited the issuance of injunctions in the type of contract dispute
     before the court it did not directly conflict with FRCP 65 because, rule 65 “merely sets out the procedural
26   requirements for injunctions and restraining orders.” Thus, since Federal Rule of Civil Procedure 65 addresses only
     the procedural aspects of injunctive relief, state law controls whether injunctive relief is appropriate. See IRIS Mgt.
27   Group, LLC v. Malan, 329 Fed. Appx. 112, 113 (9th Cir. 2009)(unpublished)(citing Sims Snowboards, Inc. v. Kelly,
     863 F.2d 643, 646-47). In IRIS the ninth circuit specifically applied NRS 33.010 in determining whether the district
28   court properly granted injunctive relief. Id.

                                                               11
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                                    VIII.      PRAYER FOR RELIEF
 1
 2          WHEREFORE, Mr. Garcia, individually and on behalf of all persons similarly situated,

 3   pray for judgment against Defendant on the aforesaid causes of action, for:
 4
            1. An Order under FRCP 23 that Autovest immediately cease any and all form of
 5
                communication with the Class to preserve the remedies available to the Class, the
 6
 7              integrity of the Class, and to protect the Class from undue influence of Autovest;

 8          2. All equitable declaratory relief and/or statutory declaratory relief and/or FRCP 23(b)(2)
 9              declaratory relief that arises from or is implied by the facts, whether or not specifically
10
                requested, including but not limited to: (a) a declaration of the rights of the Class with
11
                respect to pending litigation where a final judgment has not been entered; (b) a
12
13              declaration that the Class is entitled to injunctive relief; and (c) a declaration that the

14              Class is entitled to attorney’s fees and costs.
15          3. All equitable injunctive relief that arises from or is implied by the facts, whether or not
16
                specifically requested, including an injunction (a) that Autovest immediately cease
17
                prosecution of and forthwith dismiss all cases filed against the Class where no final
18
19              judgment has been entered; and (b) that Autovest cease from suing on debts arising

20              from auto deficiencies that are outside the four year statute of limitations set forth in
21
                NRS 104.2725.
22
            4. statutory damages of $500,000 or 1% of the net worth of defendant; whichever is less;
23
            5. statutory damages pursuant to 15 U.S.C. § 1692k;
24
25          6. costs and reasonable attorney fees pursuant to 15 U.S.C. § 1692k; and

26          7. for a trial by jury on all appropriate factual issues; and
27
            8. for such other relief as the Court may deem just and proper.
28

                                                      12
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      DATED this _ day of March, 2016.
 1
 2                                       LEGAL AID CENTER OF
                                         SOUTHERN NEVADA, INC.
 3
 4
                                           /s/ Sophia A. Medina
 5                                       DAN L. WULZ, ESQ.
                                         Nevada Bar No.: 5557
 6                                       SOPHIA A. MEDINA, ESQ.
 7                                       Nevada Bar No.12446
                                         725 E. Charleston Blvd.
 8                                       Las Vegas, NV 89104
                                         Telephone: (702) 386-1453
 9                                       Facsimile: (702) 386-1453
                                         smedina@lacsn.org
10
11                                       MITCHELL D. GLINER
                                         Nevada Bar No.: 003419
12                                       LAW OFFICES OF
                                         MITCHELL D. GLINER
13                                       3017 W. Charleston Blvd., #95
14                                       Las Vegas, Nevada 89102
                                         Telephone: (702) 870-8700
15                                       Facsimile: (702) 870-0034
                                         mgliner@glinerlaw.com
16
17                                       DANIEL A. EDELMAN
                                         Illinois Bar No.: 0712094
18                                       EDELMAN, COMBS,
                                         LATTURNER & GOODWIN, LLC
19                                       20 S. Clark Street, Suite 1500
20                                       Chicago, IL 60603
                                         (312) 739-4200
21                                       (312) 419-0379 (Fax)
                                         dedelman@edcombs.com
22
                                         www.edcombs.com
23                                       Attorneys for Class

24
25
26
27
28

                                           13
